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Case 2:22-ap-01080-BR   Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR   Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR   Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR   Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR   Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR   Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR   Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR   Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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Case 2:22-ap-01080-BR    Doc 1 Filed 03/29/22 Entered 03/29/22 13:00:17   Desc
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